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- Exhibit 2
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70 Star.] PUBLIC LAW 456—MAR. 29, 1956 65

Public Law 455 CHAPTER 112
AN ACT :

March 29, 1956
To authorize construction of the Mississippi Biver-Gulf outlet. (H.R. 6309

]

Be it enacted by the Senate and House of Representatives of the
United States of America in Congress assembled, That the existing ,Mississipe!
project for Mississippi River, Baton Rouge to the Gulf of Mexico,
is hereby modified to provide for the Mississippi River-Gulf outlet to
be prosecuted under the direction of the Secretary of the Army and
supervision of the Chief of Engineers, substantially in accordance
with the recommendation of the Chief of Engineers contained in House
Document Numbered 245, Kighty-second Congress, at an estimated
cost of $88,000,000: Provided, That when economically justified by
obsolescence of the existing industrial canal lock, or by increased
iraffic, replacement of the existing lock or an additional lock with
suitable connections is hereby approved to be constructed in the
vicinity of Meraux, Louisiana, with type, dimensions, and cost esti-
mates to be approved by the Chief of Engineers: Provided further,
That the conditions of local cooperation specified in House Document
Numbered 245, Eighty-second Congress, shall likewise apply to the
construction of said lock and connection channels.

Approved March 29, 1956.

Public Law 456 CHAPTER 113

AN ACT March 29, 1956
- To authorize the Secretury of the Interior to convey certain federally owned —[H+R- 6772]
land ‘ander his jurisdiction to the school district numbered 24 of Lake County, ,
Oregon :

Be it enacted by the Senate and House of Representatives of the
United States of America in Congress assembled, That the Secretary Lake County,
of the Interior shall convey all the right, title, and interest of the ““CShveyance.
United States in and to the land described in section 2 of this Act to
the schoo] district numbered 24 of Lake County, Oregon, upon pay-
ment by it of the fair market value of the land_as determined by the
Secretary.

Src. 2. The land referred to in the first section of this Act is more
particularly described as follows: .

(1) All of the southeast quarter sontheast quarter southeast quarter _
section 32, township 25 south, range 14 east, Willamette meridian,
except the following: Lot 1 described as beginning at the southeast
corner of the southeast quarter, section 32, township 25 south, range
14 east, Willamette meridian, thence running north 244 feet, thence
west 130 feet, thence south 244 feet, thence east 130 feet to place of
beginning; lot 2, beginning at a point 130 feet. due west. of the south-
east corner, section 32, township 25 south, range 14 east, Willamette
meridian, thence running north 144 feet, thence 133 feet 6 inches west,
thence 144 feet south, thence 133 feet 6 inches east to the point. of
beginning, being a tract of land 144 feet by 133 feet and 6 inches;
lot 3, beginning at a point 27 rods due west. of the southeast. corner,
section 32, township 25 south, range 14 east, Willamette meridian,
thence running north 220 feet, thence west 198 feet, thence south 220
feet, thence east. 198 feet to point of beginning; the land thus described
contains 7.75 acres,

(2) The northeast quarter southeast quarter southeast quarter sec-
tion 32, township 25 south, range 14 east. of Willamette meridian, Lake .
County, Oregon.

Approved” March 29, 1956.

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